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IN THE UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

)
IN RE: PHARMACEUTICAL INDUSTRY AVERAGE ) MDL No. 1456
WHOLESALE PRICE LITIGATION ) CA. No. 01-12257-PBS

)

) Judge Patti B. Saris
THIS DOCUMENT RELATES TO ALL ACTIONS __)

)

DECLARATION OF JARED D. RODRIGUES IN SUPPORT OF
SWANSTON DEFENDANTS’ MOTION FOR INJUNCTION

I, JARED D. RODRIGUES, duly declare under penalty of perjury as follows:

1. I am an attorney at law admitted to practice in the Commonwealth
of Virginia and the District of Columbia and am an attorney in the law firm of Dickstein
Shapiro LLP, counsel for defendants Baxter Healthcare Corporation and Baxter
International Inc. I am familiar with all of the facts and circumstances herein. I make this
declaration in support of Swanston Defendants’ Motion for Injunction Against Robert J.
Swanston and Donald Haviland From Pursing Overlapping Claims and Defendants.

2. Attached hereto as Exhibit 1 is a true and correct copy of In re Lupron®
Mktg. & Sales Practices Litig., 228 F.R.D. 75, 80 (D. Mass. 2005).

3. Attached hereto as Exhibit 2 is a true and correct copy of the Hearing
Transcript, Class Counsel Status Conference, September 11, 2007, In re Pharmaceutical
Industry Average Wholesale Price Litigation, MDL No. 1456.

4, Attached hereto as Exhibit 3 is a true and correct copy of Order
Dismissing Without Prejudice Defendants Overlapping MDL 1456, filed in the Superior Court of

Monmouth County, New Jersey on November 5, 2007.

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5. Attached hereto as Exhibit 4 is a true and correct copy of Swanston v. TAP
Pharm. Prods., et. al., Joint Status Report, October 12, 2007.
6. Attached hereto as Exhibit 5 is a true and correct copy of email from
Dawn Dauphine to Donald E. Haviland, Larry Crown and Jorge Franco, November 20, 2007,
and attached thereto, Stipulation For Dismissal of Certain Defendants Without Prejudice and
Order Dismissing Certain Defendants Without Prejudice.
7. Attached hereto as Exhibit 6 is a true and correct copy of email from
Donald E. Haviland to Dawn Dauphine, Frederick Herold and Larry Crown, December 5, 2007
and attached thereto, Plaintiffs Stipulation For Dismissal of Certain Claims And Defendants.
8. Attached hereto as Exhibit 7 is a true and correct copy of email from
Donald E. Haviland to Dawn Dauphine, Larry Crown and Jorge Franco, December 6, 2007 and
email from Dawn Dauphine to Donald E. Haviland, Larry Crown and Jorge Franco, December 6,
2007.
9. Attached hereto as Exhibit 8 is a true and correct copy of Plaintiff's
Motion to Dismiss Without Prejudice Certain Claims and Defendants, December 10, 2007.
10. Attached hereto as Exhibit 9 is a true and correct copy of Plaintiff's
proposed Order Dismissing Certain Claims and Defendants Without Prejudice, November 10,
2007.
L hereby swear that the foregoing statements are true to the best of my knowledge,

information, and belief.

/s/
Jared D. Rodrigues

December 31, 2007

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